                                        Case 5:20-cv-09340-NC Document 166 Filed 12/19/22 Page 1 of 2




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                                   7                               UNITED STATES DISTRICT COURT
                                   8                          NORTHERN DISTRICT OF CALIFORNIA
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                                  10   ARIEL ABITTAN,
                                                                                      Case No. 20-cv-09340-NC
                                  11                  Plaintiff,
                                                                                      Case No. 21-cv-09393-NC
                                  12             v.
Northern District of California
 United States District Court




                                                                                      Case No. 21-cv-09152 NC
                                  13   LILY CHAO, and others,
                                  14                  Defendants.
                                                                                      ORDER VACATING
                                  15   YUTING CHEN,                                   HEARING ON NOTICE OF
                                                                                      WITHDRAWAL OF
                                  16                  Plaintiff,                      COUNSEL HANSEN LAW
                                  17                  v.                              FIRM; APPROVING CHANGE
                                                                                      IN COUNSEL
                                  18   ARIEL ABITTAN, and others,
                                                                                      Hearing: Dec. 19, 2022
                                  19                  Defendants.
                                                                                      10:30 a.m. by Zoom video
                                  20   TEMUJIN LABS INC. (a Delaware and
                                  21   Cayman Islands Corp.),
                                  22                  Plaintiff,
                                  23                  v.
                                  24   TRANSLUCENCE RESEARCH, INC., and
                                  25   others,
                                  26                  Defendants.
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                                          Case 5:20-cv-09340-NC Document 166 Filed 12/19/22 Page 2 of 2




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                                   6          On November 22, 2022, attorneys from the Hansen Law Firm provided notice of
                                   7   their requested withdrawal from representation of clients Temujin Labs Inc. (Cayman
                                   8   Islands), Lily Chao, and Damien Ding (in Case No. 20-cv-9340); Temujin Labs Inc.
                                   9   (Delaware and Cayman Islands) (in Case No. 21-cv-9152); and Yuting Chen (in Case No.
                                  10   21-cv-09393). The Court set all three requests for hearing on December 19, 2022, at 10:30
                                  11   a.m. by Zoom video. Subsequently, new counsel from SAC Attorneys LLC filed
                                  12   appearances for the parties previously represented by Hansen Law Firm. The Court
Northern District of California
 United States District Court




                                  13   therefore GRANTS the requested withdrawal of Hansen Law Firm (Dkt. 58 in No 21-cv-
                                  14   9152; Dkt. 60 in 21-cv-9393; and Dkt. 163 in 20-cv-9340) and accepts the appearance of
                                  15   new counsel. There is no longer a need for a hearing, so the December 19 hearing is
                                  16   VACATED. The case schedule remains in place in all three cases. New counsel should
                                  17   take particular note that there is a motion to dismiss set for hearing on January 4, 2023, at
                                  18   1:00 p.m. by Zoom video in Case No. 21-cv-9152 NC.
                                  19          IT IS SO ORDERED.
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                                  21   Dated: December 19, 2022                   _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  22                                                    United States Magistrate Judge
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